












Affirmed and Memorandum Opinion filed February 24, 2011.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00354-CR

____________

&nbsp;

PRENTISS ANDERSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 182nd District Court

Harris County, Texas

Trial Court Cause No. 1195049

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered a plea of guilty to the offense of aggravated
sexual assault of a child.&nbsp; On March 19, 2010, the trial court sentenced
appellant to confinement for twenty-five years in the Institutional Division of
the Texas Department of Criminal Justice.&nbsp; Appellant filed a notice of appeal.

Appellant’s appointed counsel filed a brief in which he
concludes the appeal is wholly frivolous and without merit. &nbsp;The brief meets
the requirement of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396
(1967), by presenting a professional evaluation of the record and demonstrating
why there are no arguable grounds to be advanced. &nbsp;See High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel’s brief was delivered to appellant. &nbsp;Appellant
was advised of the right to examine the appellate record and file a pro se
response. &nbsp;See Stafford v. State, 813 S.W.2d 503, 510 (Tex. (Tex. Crim.
App.1991). &nbsp;As of this date, no pro se response has been filed.

We have carefully reviewed the record and counsel’s brief and
agree the appeal is wholly frivolous and without merit. Further, we find no
reversible error in the record. &nbsp;We are not to address the merits of each claim
raised in an Anders brief or a pro se response when we have determined
there are no arguable grounds for review. &nbsp;See Bledsoe v. State, 178
S.W.3d 824, 827–28 (Tex. Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges, Justices Frost and Christopher. 

Do Not Publish — Tex. R. App. P. 47.2(b).





